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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
AFL-CIO, et al.,

                       Plaintiffs,

                          vs.
                                                       Civil Action No. 1:25-cv-00596
SOCIAL SECURITY ADMINISTRATION,
et al.,

                     Defendants.


                                 NOTICE
           REGARDING PLAINTIFFS’ MOTION FOR SUPPLEMENTATION
               OR, IN THE ALTERNATIVE, LIMITED DISCOVERY

       At 3:08 p.m., Defendants emailed Plaintiffs regarding their understanding that Plaintiffs

were unable to view the content of a relatively large number of pages from the Administrative

Record. Based on Defendants’ suggestion, Plaintiffs again investigated the issue and were able to

resolve the problem. Plaintiffs emailed Defendants regarding the resolution immediately upon

discovery thereof, at 4:06 p.m.

       Considering tomorrow’s hearing, Plaintiffs wanted to immediately update the Court.

Plaintiffs are rapidly assessing whether the content of the 49 pages previously unviewable has any

impact on the scope of their Motion for Discovery and will file a notice regarding the same as soon

as possible.




Signatures follow on next page.
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                                     >
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                               CERTIFICATE OF SERVICE

    I, Alethea Anne Swift, certify that I filed the foregoing document with the Clerk of Court for

the United States District Court for the District of Maryland, Northern Division, by using the

CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case.


                                                              /s/ Alethea Anne Swift
                                                              Counsel for Plaintiffs
